
		
				IN RE AMENDMENT to 12 O.S. CH. 15 APP. 1 RULE 1.21 RULES OF OKLA. SUPREME COURT2022 OK 89Decided: 11/07/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 89, __ P.3d __

				

In re AMENDMENT to 12 O.S. CH. 15, APP. 1, RULE 1.21, RULES OF THE OKLAHOMA SUPREME COURT



ORDER 



¶0 Order Amending Oklahoma Supreme Court Rule 1.21.

¶1 The Court hereby amends Oklahoma Supreme Court Rule 1.21, 12 O.S.2021, Ch. 15, App. 1.

¶2 Oklahoma Supreme Court Rule 1.21 is amended to add the following paragraph (f):


(f) Appeals from the Termination of Parental Rights.

(1) An appeal from the termination of parental rights shall be initiated by filing a Petition in Error in this Court within thirty days of the order appealed from. 10A O.S. § 1-5-103(A); Supreme Court Rules 1.4, 1.23.

(2) A party who wishes to challenge the termination of parental rights is entitled to the effective assistance of counsel at trial, as well as in perfecting any appeal. 10A O.S. § 1-4-306(A); Matter of J.L.O., 2018 OK 77, ¶ 35, 428 P.3d 881; Supreme Court Rules 1.4, 1.23(a)-(d); Oklahoma Rules of Professional Conduct, 5 O.S., Ch. 1, App. 3--A; cf. Abels v. Kaiser, 913 F.2d 821 (10th Cir. 1990).

(3) If, through no fault of the appealing party, the Petition in Error is not timely filed, the party may file a motion with the trial court seeking an order recommending a late appeal. The motion shall detail why the party believes their inability to timely file an appeal was through no fault of their own. A copy of the motion shall be served on all other parties, who may respond to the request.

(4) The trial court may hold a hearing on the matter if necessary. The trial court shall issue, and file with the district court clerk, an order containing findings of fact and a conclusion as to whether a late appeal should or should not be granted by this Court. A file-stamped copy of that order shall be served on all parties.

(5) Within thirty days after the filing of that order, the party seeking a late appeal shall file a Petition in Error in this Court including a file-stamped copy of the order. Whether or not a late appeal is granted will be determined by this Court.


¶3 The version of Oklahoma Supreme Court Rule 1.21 amended by this Order shall take effect December 1, 2022. This Order shall be published three times in the Oklahoma Bar Journal.

¶4 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 7th DAY OF NOVEMBER, 2022.


/s/Chief Justice


¶5 ALL JUSTICES CONCUR.






